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                                                                                                             FILED
                                                                                                           JUN 0 9 2017
                              IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF NORTH CAROLINA                                    Fo'8ltfif!5u~~:!~~
         AMARP. SINGH,                                           )
                                                                 )
                         Plaintiff,                              )
                                                                 )       Civil Action No.
                 v.                                              )
                                                                 )         5~ 13 -c:v - oo 213 l - Bo
         GEICO INSURANCE AGENCY, INC.                            )
         and                                                     )
         INSURANCE AUTO AUCTIONS, CORP.,                         )
                                                                 )
                         Defendants.                             )

                                                     COMPLAINT

                 Plaintiff, complaining of the Defendants, alleges and states as follows:

                                                       PARTIES

                 1.      The Plaintiff Amar P. Singh, an active member in good standing of the State Bar

         of Georgia ("Attorney Singh"), is a citizen and resident of Smithfield, North Carolina.

                 2.      The Defendant GEICO Insurance Agency, Inc. ("GEICO") is a Maryland

         corporation with its principal office located in Washington, D.C.

                 3.      The Defendant Insurance Auto Auctions, Corp. ("IAA") is a Delaware corporation

         with its principal office located in Westchester, Illinois.

                                           JURISDICTION AND VENUE

                4.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a)(l)

         because there is diversity of the parties and the amount in controversy exceeds $75,000.

                 5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

         substantial part of the events giving rise to the claim took place in this federal district.



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                              GENERAL FACTUAL ALLEGATIONS

          6.      GEICO and IAA have a symbiotic relationship in that GEICO sells vehicles

through IAA auctions and, furthermore, GEICO adjusters have an office and receive their mail at

the IAA auction site.

          7.      In June 2014, GEICO and IAA advertised for sale a certain 2014 BMW 750LI

luxury sedan (the "Car") to be sold at auction in Raleigh, North Carolina. See Exhibit 1, attached

hereto.

          8.      The Car was advertised as having left-side front-end damage, with an estimated

repair cost of $4,303, and the vehicle was purported to be in "Run & Drive" condition. See

Exhibit 1, attached hereto.

          9.      On June 11, 2014, Attorney Singh made the winning bid for the Car, and paid a

total of $50,662 on June 12, 2014. See Exhibit 1, attached hereto.

          10.     Notwithstanding the representations of GEICO and IAA regarding the status of

the Car, Attorney Singh has spent $47,430.86 on parts and repair services for the Car to date,

with significant additional work remaining before the Car is road worthy.

                                            COUNT I
                              Unfair and Deceptive Trade Practices
                        (Chapter 75 of the North Carolina General Statutes)

          11.     Attorney Singh incorporates all of the foregoing paragraphs as if fully restated

herein.

          12.     At all times relevant herein, GIECO and IAA were engaged in activities affecting

commerce within the meaning ofN.C.G.S. § 75-1.l(b).




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       13.     The actions and omissions of GEICO and IAA as alleged herein constitute unfair

and deceptive acts or practices in or affecting commerce in violation ofN.C.G.S. § 75-1.l(a),

including but not limited to, intentional misrepresentation, negligent misrepresentation, material

omission, and deceptive advertisement or offer.

       14.     As a direct and proximate result of the actions and omissions of GEICO and IAA

as alleged herein, Attorney Singh has been damaged in the amount of $47,430.86 to date, and

continues to suffer additional damages as further repairs to the Car are and will be needed.

       15.     Pursuant to N.C.G.S. § 75-16, Attorney Singh is entitled to treble compensatory

damages.

       16.     Moreover, the actions and omissions of GEICO and IAA as alleged herein were

willful, thus entitling Attorney Singh to an award of attorney's fees pursuant to N.C.G.S. § 75-

16.1(1).



                                    PRAYER FOR RELIEF

       WHEREFORE, Attorney Singh respectfully requests that this Court enter judgment in his

favor and against GEICO and IAA, jointly and severally, as follows:

       A.      An award of actual damages in the amount of $47,430.86, plus additional

damages incurred subsequent to the filing of the Complaint and through the date of judgment;

       B.      An award of treble damages pursuant to N.C.G.S. § 75-16;

       C.      An award of pre- and post-judgment interest as allowed by applicable law;

       D.      An award of attorney's fees pursuant to N.C.G.S. § 75-16.1; and

       E.      Any other and further relief the Court deems just and equitable.


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                         DEMAND FOR JURY TRIAL

Attorney Singh demands trial by jury on all issues so triable.




                              Respectfully submitted,

                              AMAR P. SINGH


                              Pro~
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